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                                          Exhibit A




                                        (Proposed Order)




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                           IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE DISTRICT OF DELAWARE

                                                                     )
    In re:                                                           )   Chapter 11
                                                                     )
    CENTER CITY HEALTHCARE, LLC d/b/a                                )   Case No. 19-11466 (MFW)
    HAHNEMANN UNIVERSITY HOSPITAL, et al.,1                          )
                                                                     )   Jointly Administered
                                        Debtors.                     )
                                                                     )   Related to Docket No. ___
                                                                     )

                 ORDER GRANTING MOTION OF THE DEBTORS FOR ENTRY
              OF AN ORDER APPROVING SETTLEMENT AGREEMENT BETWEEN
                      THE DEBTORS AND SECTOR FINANCIAL, LLC

             Upon the motion (the “Motion”)2 of the Debtors seeking entry of an order, pursuant to

section 105(a) of the Bankruptcy Code and Bankruptcy Rule 9019 approving the Settlement

Agreement attached hereto as Exhibit 1; and due and proper notice of the Motion having been

given; and it appearing that no other or further notice of the Motion is required; and it appearing

that the Court has jurisdiction to consider the Motion in accordance with 28 U.S.C. §§ 157 and

1334 and the Amended Standing Order of Reference from the United States District Court for the

District of Delaware, dated February 29, 2019; and it appearing that this is a core proceeding

pursuant to 28 U.S.C. §§ 1408 and 1409; and the Court having reviewed and considered the

Motion and the Settlement Agreement and any responses thereto; and after due deliberation and

sufficient cause appearing therefor; IT IS HEREBY ORDERED THAT:




1
             The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification
             number, are: Center City Healthcare, LLC (3341), Philadelphia Academic Health System, LLC (8681), St.
             Christopher’s Healthcare, LLC (8395), Philadelphia Academic Medical Associates, LLC (8165), HPS of
             PA, L.L.C. (1617), SCHC Pediatric Associates, L.L.C. (0527), St. Christopher’s Pediatric Urgent Care
             Center, L.L.C. (6447), SCHC Pediatric Anesthesia Associates, L.L.C. (2326), StChris Care at Northeast
             Pediatrics, L.L.C. (4056), TPS of PA, L.L.C. (4862), TPS II of PA, L.L.C. (5534), TPS III of PA, L.L.C.
             (5536), TPS IV of PA, L.L.C. (5537), and TPS V of PA, L.L.C. (5540).
2
             Any and all terms not defined herein shall have the meaning ascribed to them in the Motion.


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             1.         The Motion is GRANTED.

             2.         The Settlement Agreement is approved in all respects.

             3.         The parties to the Settlement Agreement are authorized to take all appropriate

steps required to effectuate the terms of the Settlement Agreement.

             4.         This Court shall retain jurisdiction with respect to all matters arising from or

related to the interpretation and enforcement of this Order and the Settlement Agreement.




                                                       -2-
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                                             Exhibit 1



                                       (Settlement Agreement)




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                                         Allen Wilen
                                         CRO
